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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


SPRINT COMMUNICATIONS COMPANY L.P.,                    )
                                                       )
              Plaintiff,                               ) Case No. 1:17-cv-01734-RGA
                                                       )
         v.                                            ) JURY TRIAL DEMANDED
                                                       )
CHARTER COMMUNICATIONS, INC.,                          )
CHARTER COMMUNICATIONS HOLDINGS,                       )
LLC, SPECTRUM MANAGEMENT HOLDING                       )
COMPANY, LLC, CHARTER                                  )
COMMUNICATIONS OPERATING, LLC,                         )
BRIGHT HOUSE NETWORKS, LLC                             )
                                                       )
              Defendants.                              )

                        PLAINTIFF’S FIRST AMENDED COMPLAINT

              Plaintiff Sprint Communications Company L.P. complains as follows against

defendants    Charter      Communications,     Inc.   (“Charter   Communications”),   Charter

Communications Holdings, LLC (“Charter Holdings”), Spectrum Management Holding

Company LLC (“Spectrum Management”), Charter Communications Operating, LLC (“Charter

Operating”), and Bright House Networks, LLC (“Bright House”) (collectively, “Charter”).

                                             PARTIES

         1.   Plaintiff Sprint Communications Company L.P. (“Sprint”) is a Limited

Partnership organized and existing under the laws of the State of Delaware, with its principal

place of business at 6200 Sprint Parkway, Overland Park, Kansas 66251.

         2.   On information and belief, defendant Charter Communications is a corporation

organized and existing under the laws of the State of Delaware, with its principal place of

business at 400 Atlantic Street, Stamford, Connecticut 06901.




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         3.    On information and belief, defendant Charter Holdings is a limited liability

company organized and existing under the laws of the State of Delaware, with its principal place

of business at 12405 Powerscourt Drive, St. Louis, Missouri 63131.

         4.    On information and belief, defendant Charter Operating is a limited liability

company organized and existing under the laws of the State of Delaware, with its principal place

of business at 400 Atlantic Street, Stamford, Connecticut 06901.

         5.    On information and belief, defendant Spectrum Management is a limited liability

company organized and existing under the laws of the State of Delaware, with its principal place

of business at 400 Atlantic Street, Stamford, Connecticut 06901.

         6.    On information and belief, defendant Bright House is a limited liability company

organized and existing under the laws of the State of Delaware, with its principal place of

business at 12405 Powerscourt Drive, St. Louis, Missouri 63131.

         7.    On information and belief, Charter and/or one or more of its affiliates currently do

and have in the past provided or participated in providing broadband and/or packet-based

telephony products or services, including Spectrum Voice, Spectrum Business Voice, legacy

phone services (including Bright House Residential and Business phone services, and Charter

Residential and Business phone services), and other related telephony services.

                                        JURISDICTION

         8.    This is an action for patent infringement under the United States Patent Laws, 35

U.S.C. § 271, et. seq. This Court has subject matter jurisdiction over this action under 28 U.S.C.

§§ 1331 and 1338.

         9.    This Court has personal jurisdiction over Charter Communications, Charter

Holdings, Spectrum Management, Charter Operating, and Bright House because each is




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incorporated in the State of Delaware and therefore may be fairly regarded as at home in this

Judicial District.

                                             VENUE

         10.    Venue is proper in this Court pursuant to 28 U.S.C. § 1400(b). Each Defendant is

incorporated in the State of Delaware and therefore resides in this Judicial District pursuant to 28

U.S.C. § 1400(b).

                                            JOINDER

         11.    Joinder of Charter Communications, Charter Holdings, Spectrum Management,

Charter Operating, and Bright House is proper under 35 U.S.C. § 299. The allegations of patent

infringement contained herein arise out of the same series of transactions or occurrences relating

to the making, using, offering for sale, and/or selling within the United States, and/or importing

into the United States, of the same accused products or services.

         12.    Common questions of fact relating to Charter’s infringement will arise in this

action. For example, common questions of fact regarding the design, development, and operation

of Charter’s telephone network architecture will arise in this action, as well as common questions

of fact concerning Charter’s infringement of the patents-in-suit. Likewise, common questions of

fact exist as to profits and revenues derived by Charter Communications, Charter Holdings,

Spectrum Management, Charter Operating, and Bright House, as well as Sprint’s damages for the

same. On information and belief, common questions of fact will also likely exist with regard to

one or more of Charter Communications, Charter Holdings, Spectrum Management, Charter

Operating, and Bright House’s defenses in this litigation, if any.




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                                   FACTUAL BACKGROUND

                        Sprint’s Voice-over-Packet (“VoP”) Technology

         13.   In 1993, Sprint’s leading technology specialists and engineers were attempting to

solve a very important problem affecting Sprint’s ability to expand its network to support its

rapidly growing customer base. At that time, virtually all voice traffic was carried over the Public

Switched Telephone Network (“PSTN”), which utilized highly complex, extremely expensive

switches and other well-established components to route this traffic. One solution to Sprint’s

problem—a solution that Sprint had used in the past—was to simply purchase additional

switches from the legacy manufacturers and install those in its network. Adding switches,

however, was extremely expensive and time consuming because Sprint’s entire network of

switches would have to be reprogrammed for each switch addition or upgrade. In addition, voice

traffic on the PSTN was transported using inherently inefficient synchronous circuit-switching. A

circuit was reserved for the entire length of a call on the PSTN, which wasted significant

bandwidth during periods of time when no conversation was occurring. But legacy circuit-based

systems had long been widely used to carry voice communications, and there were no viable

alternatives in the marketplace available to Sprint or other carriers at the time.

         14.   One of Sprint’s talented technologists, Joe Christie, observed that data

communications between computers were handled differently. Computers communicated with

each other using “packets” of data. Packet communications, unlike the synchronous

communications of the PSTN, could occur “asynchronously” where the sending and receiving

points could send and receive out of synch with each other. This created an opportunity to realize

substantial efficiencies by transmitting voice data packets only when there is voice data to send

and refraining from wasting valuable bandwidth during periods of silence. In addition, unlike the

complex and expensive switches used in the PSTN, data packets could be routed using fairly


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inexpensive components that could be made available from a number of competing vendors.

Unfortunately, the two systems were not compatible with each other. Interfacing a circuit-

switched system with a packet-based system in a geographically expansive telecommunications

environment was not a reality, at least not before Joe Christie.

         15.   Joe Christie was an expert in two dissimilar technologies: packet-based networks

and SS7 signaling (which was used by the PSTN to set up voice calls). Mr. Christie proposed a

solution that would ultimately revolutionize the telecommunications industry. He devised a way

to leverage the efficiencies of packet-based networks to make telephone calls to and from the

PSTN. To do so, Mr. Christie invented a series of architectures, components, and processes that

would allow the PSTN to “talk” to packet-based networks to set up and route telephone calls

across these disparate networks in a seamless and transparent manner. These calls were highly

efficient and substantially decreased the need for telephone companies to rely on expensive

legacy PSTN equipment.

         16.   Mr. Christie’s Voice-over-Packet (“VoP”) technology reduced or eliminated the

need for service providers to rely on conventional switches and switch-to-switch call processing.

Instead, Mr. Christie conceived of centralizing network control by using a call processor to

orchestrate calls over his new packet-based system. The call processor acted like the brains of the

network, determining where a call needed to go and then enabling routing to its destination. This

call processor extracted the intelligence of expensive and complicated legacy switches and

placed this intelligence on functionally separate computer platforms. By extracting call control

from the switch manufacturers, Mr. Christie allowed a host of competitors to provide processing

equipment and to get into the business of telephony. This innovation would eventually increase

competition, drive down the costs of telephony, and greatly improve efficiency.




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         17.   When Mr. Christie presented his innovations to Sprint executives and Sprint

technical management, they recognized the importance of his innovations. Mr. Christie’s

inventions had the potential to render obsolete major components within the PSTN and to break

the grip that switch manufacturers held on carriers and service providers. Mr. Christie’s

innovations could dramatically alter the way telephone calls were made and change the

landscape of the relative strength and leverage of the players in the industry. They represented a

sea change in telephony, and Mr. Christie’s colleagues at Sprint, including upper-level

executives, realized it. Sprint promptly assigned a patent agent to shadow Mr. Christie to learn as

much as possible about the various aspects of his new systems and to seek patent protection.

Sprint also assigned a team of some of Sprint’s most talented engineers to work with Mr. Christie

and to help develop concepts into tangible platforms. Due to the highly sensitive nature of the

project, the team was sequestered in a Kansas City facility and instructed to maintain the project

in the strictest of confidence. Few people in Sprint knew of this project at the time.

         18.   Joe Christie died unexpectedly in his home in February of 1996. Mr. Christie did

not live to see his innovations deployed into a commercial platform. But Mr. Christie’s

revolutionary inventions have an enduring legacy. Mr. Christie’s inventions and the related

innovations made by people working with Mr. Christie have resulted in a VoP patent portfolio of

over 120 issued United States Patents. Unfortunately, many companies in the industry, including

Charter, have realized the great value in this technology and have misappropriated it without

Sprint’s permission. It is because of this unauthorized use that Sprint has taken efforts to enforce

this patent portfolio against others in the industry in the past and is now enforcing its patents in

this case.




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                          Sprint’s Enforcement Efforts and Licenses

         19.   In 2007, in the matter styled Sprint Communications Co. L.P. v. Vonage Holdings

Corp. et al., Case No. 05-2433-JWL (D. Kan.), a Kansas jury found that Vonage Holdings Corp.

and Vonage America, Inc. (“Vonage”) had infringed six patents contained in this portfolio,

including patents that are at issue in this case, found that the six patents were valid, assessed a

five percent (5 %) reasonable royalty, and awarded Sprint $69.5 million in damages. Following

the verdict, Vonage entered a settlement agreement with Sprint whereby Vonage paid Sprint $80

million for a license to Sprint’s VoP portfolio. Previously, in that same matter, tglo.com, Inc.

(formerly known as VoiceGlo Holdings, Inc.) and Theglobe.com Inc. (“VoiceGlo”) had entered a

settlement agreement in which VoiceGlo licensed Sprint’s VoP patents.

         20.   In 2008, Sprint again sued to enforce patents from its VoP portfolio in additional

lawsuits against companies engaging in the unauthorized use of Sprint’s VoP technology: Sprint

Communications Co. L.P. v. Paetec Holding Corp. et al., Case No. 08-cv-2044-JWL/GLR (D.

Kan.), Sprint Communications Co. L.P. v. Broadvox Holdings, LLC et al., Case No. 08-cv-2045-

JWL/DJW (D. Kan.); Sprint Communications Co. L.P. v. Big River Telephone Co., LLC, Case

No. 08-cv-2046-JWL/DJW (D. Kan.), and Sprint Communications Co. L.P. v. Nuvox, Inc. et al.,

Case No. 08-cv-2047-JWL/JPO (D. Kan.). By late 2009, Sprint had entered settlement

agreements resolving these lawsuits and, as a result, a number of additional companies licensed

patents from Sprint’s VoP portfolio.

         21.   During this same time frame, Sprint continued to derive substantial revenues from

providing numerous cable companies with a network backbone to carry voice traffic to support

those companies’ digital telephone offerings, which use packet networks coupled with the PSTN.

         22.   In 2011, Sprint again sued to enforce patents from its VoP portfolio for the

unauthorized use of its patented technology: Sprint Communications Co. L.P. v. Cox


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Communications, Inc., et al., Case No. 11-cv-2683-JWL (D. Kan.), Sprint Communications Co.

L.P. v. Comcast Cable Communications, LLC et al., Case No. 11-cv-2684-JWL (D. Kan.), Sprint

Communications Co. L.P. v. Cable One, Inc., Case No. 11-cv-2685-JWL (D. Kan.), and Sprint

Communications Co. L.P. v. Time Warner Cable Inc., et al., Case No. 11-cv-2686-JWL (D. Kan.).

In 2016, Sprint entered into a settlement agreement resolving the Cable One lawsuit. In March

2017, a Kansas jury found that Time Warner Cable had willfully infringed five patents in this

portfolio, including patents that are at-issue in this case, awarding Sprint $139.8 million in

damages. In October 2017, Sprint entered into a settlement agreement resolving the Comcast

lawsuit. In December 2017, Sprint entered into a settlement agreement resolving the Cox lawsuit.

                                       The Patents-In-Suit

         23.   Plaintiff Sprint is the owner by assignment of all right, title, and interest in and to

United States Patent No. 6,343,084 (“the ‘084 Patent”) entitled “Broadband Telecommunications

System,” which duly and legally issued in the name of Joseph Michael Christie on January 29,

2002. A copy of the ‘084 Patent is attached to the Complaint as Exhibit A.

         24.   Plaintiff Sprint is the owner by assignment of all right, title, and interest in and to

United States Patent No. 6,633,561 (“the ‘3,561 Patent”) entitled “Method, System and

Apparatus for Telecommunications Control,” which duly and legally issued in the name of

Joseph Michael Christie on October 14, 2003. A copy of the ‘3,561 Patent is attached to the

Complaint as Exhibit B.

         25.   Plaintiff Sprint is the owner by assignment of all right, title, and interest in and to

United States Patent No. 6,463,052 (“the ‘052 Patent”) entitled “Method, System and Apparatus

for Telecommunications Control,” which duly and legally issued in the name of Joseph Michael

Christie on October 8, 2002. A copy of the ‘052 Patent is attached to the Complaint as Exhibit C.




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         26.   Plaintiff Sprint is the owner by assignment of all right, title, and interest in and to

United States Patent No. 6,452,932 (“the ‘932 Patent”) entitled “Method, System and Apparatus

for Telecommunications Control,” which duly and legally issued in the name of Joseph Michael

Christie on September 17, 2002. A copy of the ‘932 Patent is attached to the Complaint as

Exhibit D.

         27.   Plaintiff Sprint is the owner by assignment of all right, title, and interest in and to

United States Patent No. 6,473,429 (“the ‘429 Patent”) entitled “Broadband Telecommunications

System,” which duly and legally issued in the name of Joseph Michael Christie on October 29,

2002. A copy of the ‘429 Patent is attached to the Complaint as Exhibit E.

         28.   Plaintiff Sprint is the owner by assignment of all right, title, and interest in and to

United States Patent No. 6,298,064 (“the ‘064 Patent”) entitled “Broadband Telecommunications

System,” which duly and legally issued in the name of Joseph Michael Christie on October 2,

2001. A copy of the ‘064 Patent is attached to the Complaint as Exhibit F.

         29.   Plaintiff Sprint is the owner by assignment of all right, title, and interest in and to

United States Patent No. 6,330,224 (“the ‘224 Patent”) entitled “System and Method for

Providing Enhanced Services for a Telecommunication Call,” which duly and legally issued in

the names of Joseph Michael Christie, Joseph S. Christie, and Tracy Lee Nelson on December

11, 2001. A copy of the ‘224 Patent is attached to the Complaint as Exhibit G.

         30.   Plaintiff Sprint is the owner by assignment of all right, title, and interest in and to

United States Patent No. 6,697,340 (“the ‘340 Patent”) entitled “System and Method for

Providing Enhanced Services for a Telecommunication Call,” which duly and legally issued in

the names of Joseph Michael Christie, Joseph S. Christie, Jean M. Christie, and Tracy Lee




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Nelson on February 24, 2004. A copy of the ‘340 Patent is attached to the Complaint as Exhibit

H.

         31.   Plaintiff Sprint is the owner by assignment of all right, title, and interest in and to

United States Patent No. 7,286,561 (“the ‘6,561 Patent”) entitled “Method System and Apparatus

for Telecommunications Control,” which duly and legally issued in the name of Joseph Michael

Christie on October 23, 2007. A copy of the ‘6,561 Patent is attached to the Complaint as Exhibit

I.

         32.   Plaintiff Sprint is the owner by assignment of all right, title, and interest in and to

United States Patent No. 7,505,454 (“the ‘454 Patent”) entitled “Method, System and Apparatus

for Telecommunications Control,” which duly and legally issued in the name of Joseph Michael

Christie on March 17, 2009. A copy of the ‘454 Patent is attached to the Complaint as Exhibit J.

         33.   Plaintiff Sprint is the owner by assignment of all right, title, and interest in and to

United States Patent No. 7,327,728 (“the ‘728 Patent”) entitled “Broadband Telecommunications

System,” which duly and legally issued in the name of Joseph Michael Christie, Albert D. Duree,

Michael Joseph Gardner, William Lyle Wiley, Manu Chand Bahl, and Daniel Charles Sbisa on

February 5, 2008. A copy of the ‘728 Patent is attached to the Complaint as Exhibit K.

         34.   Plaintiff Sprint is the owner by assignment of all right, title, and interest in and to

United States Patent No. 7,324,534 (“the ‘534 Patent”) entitled “Broadband Telecommunications

System Interface,” which duly and legally issued in the name of Joseph Michael Christie,

Michael Joseph Gardner, Tracy Lee Nelson, William Lyle Wiley, and Albert Daniel Duree on

January 29, 2008. A copy of the ‘534 Patent is attached to the Complaint as Exhibit L.

         35.   Plaintiff Sprint is the owner by assignment of all right, title, and interest in and to

United States Patent No. 7,693,131 (“the ‘131 Patent”) entitled “Telecommunications System to




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Provide Analog Telephony Communications Over a Packet Connection,” which duly and legally

issued in the name of Martin Joseph Kaplan, Frank Anthony DeNap, John Arndt Strand, III,

William Lee Edwards, Bryan Lee Gorman, Murat Bog, Michael Thomas Swink, and Harold

Wayne Johnson on April 6, 2010. A copy of the ‘131 Patent is attached to the Complaint as

Exhibit M.

         36.   Plaintiff Sprint is the owner by assignment of all right, title, and interest in and to

United States Patent No. 6,563,918 (“the ‘918 Patent”) entitled “Telecommunications System

Architecture for Connecting a Call,” which duly and legally issued in the name of Tracy Lee

Nelson, William Lyle Wiley, Royal Dean Howell, Michael Joseph Gardner, and Albert Daniel

DuRee on May 13, 2003. A copy of the ‘918 Patent is attached to the Complaint as Exhibit N.

         37.   Plaintiff Sprint is the owner by assignment of all right, title, and interest in and to

United States Patent No. 6,999,463 (“the ‘463 Patent”) entitled “Number Portability In A

Communications System,” which duly and legally issued in the name of Joseph Michael

Christie, Joseph S. Christie, Jean M. Christie, Michael Joseph Gardner, Albert Daniel Duree,

William Lyle Wiley, and Tracy Lee Nelson on February 14, 2006. A copy of the ‘463 Patent is

attached to the Complaint as Exhibit O.

         38.   The patents identified in paragraphs 23–37 and attached as Exhibits A–O are

herein collectively referred to as “Sprint’s Patents” or the “Asserted Patents.”

                                              Charter

         39.   Upon information and belief, Charter is the second largest cable operator in the

United States and a leading broadband communications company providing video, Internet, and

voice services to residential and business customers. See Charter Communications 2016 Annual

Report (Form 10-K) at p. 1 (online at http://ir.charter.com/phoenix.zhtml?c=112298&p=irol-

reportsannual as “2016 10-K” (last accessed December 13, 2017)). Upon information and belief,


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Charter has over 26 million customers and its network reaches nearly 50 million homes and

businesses. See id.

         40.   Upon information and belief, Charter Communications is the parent company to

Charter Holdings, owns, and exercises control over Charter Holdings. See generally id. at pp. 1-

3. Upon information and belief, Charter Communications and Charter Holdings are parent

companies to, and own and exercise control over, Spectrum Management, Charter Operating,

and Bright House. See id. Upon information and belief, substantially all of Charter’s operations

reside with Charter Operating. See id.

         41.   Upon information and belief, Charter Communications entered into an agreement

for a merger with Time Warner Cable on May 23, 2015. See id. Upon information and belief,

Charter Communications completed the merger with Time Warner Cable Inc. on May 18, 2016,

with Charter Communications becoming the parent company holding the operations of the

combined companies. See Charter Communications 2016 Annual Report (Shareholder Letter) at

p. 3 (online at http://ir.charter.com/phoenix.zhtml?c=112298&p=irol-reportsannual as “2016

Annual Report” (last accessed December 13, 2017)).

         42.   Upon information and belief, Charter has made, used, offered to sell, and/or sold,

and continues to make, use, offer to sell, and/or sell broadband and/or packet-based telephony

services, including, but not limited to, Charter Telephone, Charter Phone, Charter Business,

Charter Business Phone, Charter Business Phone Plus, Spectrum Voice, Spectrum Business

Voice, and other related telephony services, without Sprint’s permission.

         43.   On further information and belief, Charter has made, used, offered to sell, and/or

sold, and continues to make, use, offer to sell, and/or sell the Voice-over-Internet Protocol

(“VoIP”) services identified above (see ¶ 42) to connect calls to, and receive calls from, the




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PSTN. For instance, Charter Communications is the parent company to other Charter-affiliated

operating divisions provide competitive facilities-based telephony services, including Charter

FiberLink, LLC and its related subsidiaries (collectively, “Charter FiberLink”). On information

and belief, Charter FiberLink provides a service known as “Local Interconnection Service”

(“LIS”), which interconnects the customer’s “broadband facilities and the public switched

telephone network.” See, e.g., Charter Fiberlink-Michigan, LLC, Local And Intrastate

Interexchange Services Tariff, M.P.S.C. No. 3 (12/12/2014) at pp. 42-44 (online at

https://www.spectrum.com/content/dam/spectrum/residential/en/pdfs/policies/tt/TT_MI_Charter

_Fiberllnk_Michigan_LLC_Local_Tariff.pdf) (last accessed December 13, 2017)).

         44.   In providing its LIS services, Charter FiberLink “only accept[s] and deliver[s]

traffic in time division multiplex (‘TDM’) protocol.” See id. Thus, “[i]n order to make use of

[Charter FiberLink’s] LIS” service, the customer’s “broadband facilities must consist of an IP-

based, broadband connecting Facility between the Customer and the Premises of each Subscriber

that has the ability to use a Cable Modem Termination System (CMTS) employing the Network-

based Call Signaling specified by Cable Television Laboratories, Inc. (CableLabs®), a soft

switch, a media gateway, and appropriate Customer Premises Equipment.” See id.

         45.   On information and belief, in providing the VoIP services identified above (see

¶42), Charter Communications purchases LIS services from Charter FiberLink at rates that are,

and have always been, commercially reasonable and non-discriminatory such that the rates paid

reflect a fair market value associated with interconnecting telephone calls between Charter’s

“broadband facilities and the public switched telephone network[.]”

         46.   On information and belief, Charter has had knowledge of one or more of the

Asserted Patents and the infringing nature of its products since at least 2007. For instance, on




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information and belief, executives at Charter were made aware of Sprint’s patents while working

at Sprint on or before 2007. Specifically, at least one executive at Bright House received an

email while working at Sprint announcing the Vonage verdict and forwarded that email to others.

Further, on information and belief, Charter has had additional knowledge of Sprint’s patents

since April 2014 at least due to Bright House’s involvement with Sprint’s prior lawsuits,

including receipt of third party subpoenas, and contact between counsel for Bright House and

Sprint and Time Warner Cable.         Additionally, on information and belief, Charter gained

additional knowledge of one or more of the Asserted Patents and the infringing nature of its

products through due diligence relating to the merger with Time Warner Cable. Likewise, on still

further information and belief, Charter gained additional knowledge of one or more of the

Asserted Patents and the infringing nature of its products through its participation in, as well as

funding and control of, Sprint’s litigation against Time Warner Cable resulting in a verdict of

willful infringement of six Sprint Patents earlier this year. On further information and belief,

Charter gained additional knowledge regarding infringement of the ‘918 and ‘131 patents via the

initiation of this action on or about December 1, 2017, yet willfully continued its infringement.

         47.   Charter’s knowledge of certain of the Asserted Patents notwithstanding, Charter

continued to make, use, sell, and/or offer for sales its products and services that infringe Sprint’s

intellectual property, all despite an objectively high likelihood that Defendants’ actions

constituted infringement of one or more valid patents. Upon information and belief, Charter

either knew or should have known of such infringement of Sprint’s intellectual property rights.

         48.   Upon information and belief, Charter Communications and/or one or more of its

subsidiaries acquired Bright House in or around March 2015. Upon information and belief, as




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part of that acquisition Charter Communications and/or one or more of its subsidiaries assumed

Bright House’s past liabilities with regard to the infringement of Sprint’s Patents.

         49.   Upon information and belief, prior to Charter’s acquisition of Bright House,

Charter and Bright House each provided residential and business phone services (the “Legacy

Services”) that infringed Sprint’s Patents. Upon information and belief, Charter continues to

offer the residential and business phone services under the Spectrum brand.

                              The Accused Products and Services

         50.   On information and belief, Charter’s products and services comprise Spectrum

Voice, Spectrum Business Voice, Phone, Business Phone, the Legacy Services, and other related

telephony services (the “Accused Products and Services,” see, e.g., ¶42, supra)). On information

and belief, Charter’s Accused Products and Services provided in the past, and continue to

provide, functionality, including through the use of the PacketCable standard, that allows voice

and/or data information to be transmitted over a packet communication system connected to the

PSTN. On information and belief, the Accused Products and Services accomplish

communication control through a processing system that processes signaling to select network

characteristics and signals network elements based on the selections.

         51.   In particular, on information and belief and discussed above and throughout,

Charter provided and provides VoIP telephony services that are capable of placing calls to, and

receiving calls from, the PSTN. These services were and are provided through devices operating

on Charter’s network, including network elements that are dedicated to call control and set-up

(e.g., a softswitch), as well as interworking between packet-based/broadband formats and time-

based/narrowband formats (e.g., media gateways). In particular, Charter provided and provides,

to its VoIP subscribers, an IP-based, broadband connection between appropriate customer

premises equipment (e.g., a Multimedia Terminal Adapter (“MTA”)) and one or softswitches for


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communicating call signaling using NCS protocols, as specified by Cable Television

Laboratories, Inc. (CableLabs®).

         52.      On information and belief, Charter provided and provides VoIP telephony

services that are capable of placing calls to, and receiving calls from, the PSTN using

softswitches provided by Nortel and CedarPoint. The Nortel softswitches include Nortel’s

Succession Communication Server 2000 – Compact (“CS2K-c”), which acts as a media gateway

controller and signaling gateway to set up calls between a VoIP subscriber and the PSTN. The

CedarPoint softswitch includes the CedarPoint the Safari C3 softswitch, which is used for the

same functionality as the Nortel CS2K-c.

                                 —Charter’s Inbound Calls—
             A Call From The PSTN To A VoIP Subscriber Through A Media Gateway1

         53.      On information and belief, during an Inbound Call, a softswitch used by Charter

such a CS2K-c or Safari C3 (hereinafter collectively referred to as a “Call Management Server”

or “CMS”),2 such as a CS2K-c or Safari softswitch, receives an SS7 Initial Address Message

(“IAM”) from a PSTN signaling point. The SS7 message is received over A- or D-links in SS7

or SIGTRAN format. The received SS7 IAM message includes, amongst other things, a


1
  While the call flows in the paragraphs 53-75 are in the present tense, on information and belief,
         Charter performed these call flows in the past, including during and prior to 2014.
2
  For brevity, Sprint identifies a CMS. However, a Charter VOP network may include other
components, such as a Media Gateway Controller (“MGC”), a Signaling Gateway (“SG”), and/or
a Call Agent (“CA”) or IP Multimedia Subsystem (“IMS”) equivalents, that perform analogous
functions in some instances as a CMS. Further, on information and belief, IMS implementations
include Call Session Control Function (“CSCF”), which perform analogous functions to Call
Management Servers and Call Agents; Media Gateway Controller Function (“MGCF”), which
perform analogous functions to Media Gateway Controllers; and Signaling Gateways (“SGW”),
which perform analogous functions to Signaling Gateways. See, e.g., PacketCable 2.0
Architecture          Framework          Technical          Report         at        pp.      7-12
(https://community.cablelabs.com/wiki/plugins/servlet/cablelabs/alfresco/download?id=be85170
9-5acb-42d3-ba34-3d378140da29); 3rd Generation Partnership Project Technical Specification
Group Services and Systems Aspects IP Multimedia Subsystem (IMS) Stage 2 (Release 7) at p.
18 (http://www.3gpp.org/ftp/Specs/archive/23_series/23.228/23228-700.zip).


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Destination Point Code (“DPC”), an Origination Point Code (“OPC”), a Circuit Identification

Code (“CIC”), the calling party’s telephone number, the called party’s telephone number (i.e.,

the dialed telephone number), and, if applicable, a Location Routing Number (“LRN”)

associated with the called party’s telephone number.

         54.   On further information and belief, the Charter CMS processes information in the

SS7 IAM message to make selections with respect to establishing and routing the call. For

example, on information and belief, the Charter CMS uses, amongst other things, the OPC and

CIC information included in the SS7 IAM to identify a Media Gateway (“MG”) that be used to

interwork bearer traffic (i.e., speech or voice on the call) between TDM and packet-based

formats. Likewise, the Charter CMS also uses, amongst other things, the telephone number

and/or LRN included in the SS7 IAM to identify the called party, including an IP address

associated with the called party’s Media Terminal Adapter (“MTA”). These selections, as well as

others, are based on call routing data stored within the Charter CMS in call routing database

tables that are populated by one or more Element Management Systems (“EMS”) used by

Charter.

         55.   On information and belief, during an Inbound Call, a Charter CMS sends a CRCX

(create connection message) to the MG instructing the MG to create a session in inactive mode.

On information and belief, a Charter MG creates the session in inactive mode and responds to

the CRCX message with an acknowledgment message, which includes the MG’s Session

Description Protocol (“SDP”) profile information. On information and belief, the SDP profile

includes, among other information, the IP address and port of the MG to which voice

information will be sent using Real-time Protocol (“RTP”) voice packets.

         56.   On information and belief, during an Inbound Call, a Charter CMS sends a CRCX




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message to the MTA instructing the MTA to create a session. On information and belief, the

CRCX includes the MG’s IP address and port information. On information and belief, a Charter

MTA sends a in response to the CRCX to the Charter CMS that includes the MTA’s own SDP

profile which includes, among other information, the MTA’s IP address and port information.

The IP address included in the ACK from the MTA to the Charter CMS is the same IP address

used by the CMS to send the CRCX message to the MTA instructing the MTA to create a

session.

         57.   On information and belief, during an Inbound Call, when the called party answers

the call, the MTA sends a NTFY (notify message) indicating an off-hook event to the Charter

CMS. The Charter CMS sends an MDCX (modify connection message) to the MG instructing

the MG to modify the inactive session to become an active session to exchange two-way bearer

traffic (i.e., speech or voice traffic) for the call. The MDCX includes the IP address of the MTA

identified by the Charter CMS and used to communicate the above-described CRCX message to

the MTA. The MDCX also includes the port information provided by the MTA in the ACK to

the Charter CMS.

         58.   On information and belief, during an Inbound Call, voice information between the

Charter’s MG interfacing with the PSTN is transmitted from the MG to the MTA (and vice

versa) using RTP. On further information and belief, Charter’s MG receives bearer audio from

the PSTN (i.e., voice or speech audio) and places portions of the digital audio into the payloads

of RTP voice packets. The bearer audio (i.e., voice or speech audio) is received by the MG from

the PSTN over a DS0 connection corresponding to the OPC, DPC, and CIC values included in

the SS7 IAM. The bearer audio (i.e., voice or speech audio) is received by the MG at a data rate

of 64 kilobits per second, and is not packetized.




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         59.   The MG creates voice packets containing the bearer audio (i.e., voice or speech

audio) received over the DS0 connection according to specified packetization period (e.g., 10

milliseconds, 20 milliseconds) using a specified encoding scheme, such as G.711 for Pulse Code

Modulation (“PCM”). As a result, on information and belief, all RTP voice packets created for

any particular Inbound Call will be of an identical size (e.g., 210 bytes).

         60.   While creating the RTP voice packets, on information and belief, the MG includes

the MTA’s IP address received from the Charter CMS in the destination field of the RTP voice

packets’ IP headers. On information and belief, Charter’s MG then sends the RTP voice packet

to Charter’s IP network to eventually reach the Cable Modem Termination System (“CMTS”)

that is local to the called party’s MTA. The RTP voice packets between the MG and the CMTS

are not transmitted according to a shared timing relationship, such as Stratum Level clock that

ensures packets are delivered synchronously. On information and belief, the CMTS then sends

the RTP voice packet to the MTA over the local coaxial cable network.

         61.   On further information and belief, the called party’s MTA receives the RTP voice

packets transmitted by the MG. The MTA removes the bearer traffic (i.e., voice or speech audio)

from the RTP packets, transcodes the bearer traffic from digital to analog, and transfers the

analog audio in non-packet format to an analog telephone connected to the MTA.

         62.   On information and belief, during an Inbound Call, an MTA similarly receives

analog voice from the analog telephone connected to the MTA, transcodes the voice into digital

format, and places portions of the digital voice into the payloads of RTP voice packets. On

information and belief, the MTA puts the MG’s IP address received from the Charter CMS in the

destination address field of the RTP voice packets’ IP headers. On information and belief, the

MTA then sends the RTP voice packet to its local CMTS via the local coaxial cable network. On




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information and belief, the CMTS forwards the RTP voice packet to Charter’s IP network to

eventually reach the MG.

               A Call From The PSTN To Voicemail Through A Media Gateway

         63.    On information and belief, during an Inbound Call to Voicemail, a call from the

PSTN is attempted to be connected to a called party’s MTA as detailed above (see ¶¶53-56). If

the called party does not answer the call, either because the called party is already connected to a

different call (“call forward, busy”) or because the called party is not available (“call forward, no

answer”), the CMS forwards the call to voicemail.

         64.    For example, on information and belief, in a “call forward, no answer” scenario, a

Charter CMS communicates with the MTA to direct the MTA to ring the called party’s phone. If

a predetermined number of rings or a predetermined amount of time has elapsed before the

called party answers the call, a call forward condition is triggered in the CMS. If the called party

has the call forwarding to voicemail feature enabled, the CMS performs additional processing to

forward the call to voicemail.

         65.    On information and belief, the CMS uses internal routing tables and data

associated with the called party to determine where the call should be forwarded. On information

and belief, upon determining that a “call forward, no answer” scenario is occurring, the call can

be forwarded to a voicemail platform associated with a trunk group. On information and belief,

the CMS generates a SIP message directed toward the voicemail platform, the SIP message

containing, among other data, the dialed digits of the called party. The voicemail platform

responds to the CMS with a 200 OK message which includes the IP address and port information

of the voicemail platform. The CMS updates the MG with the IP address and port number of the

voicemail platform.

         66.    On information and belief, after the MG receives updated IP address and port


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information of the voicemail platform, a call can be established between the voicemail platform

and the PSTN calling party via the MG in a manner that is functionally similar to a call

connected to a MTA as detailed above (see ¶¶ 57-61).

                                —Charter’s Outbound Calls—
             A Call From A VoIP Subscriber To The PSTN Through A Media Gateway

         67.     On information and belief, during an Outbound Call, when an analog telephone

connected to an MTA is picked up, the MTA sends a NTFY indicating an off-hook event to a

Charter CMS by sending the message to the MTA’s local CMTS through the local coaxial cable

network, which the CMTS forwards to the Charter CMS. On information and belief, the Charter

CMS sends an ACK in response to the NTFY and a RQNT (notification request message)

instructing the MTA to provide a dial-tone and notify the CMS of dialed digits. On information

and belief, after the calling party has dialed digits, the MTA sends a NTFY to the CMS with the

dialed digit information.

         68.     On information and belief, the Charter CMS processes information included in the

NTFY message, including the dialed digits, according to a defined dial plan, such as a dial plan

associated with the calling subscriber and/or least cost routing procedures. The Charter CMS

processes the dialed digits using call routing data stored in a relational call routing database in

the CMS, which, on information and belief, is populated with data from an EMS.

         69.     On information and belief, during an Outbound Call involving a dialed number

that has been ported, Charter’s CMS sends an SS7 IAM to the PSTN with the LRN returned in

response to a Local Number Portability (“LNP”) query as a called party number, which includes

the actual dialed number in the IAM’s Generic Address Parameter (“GAP”) field. If the number

has not been ported, the dialed digits are used for further call processing by the Charter CMS. In

either scenario, the Charter CMS will identify a trunk to connect the call to the PSTN using the



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dialed digits and/or an LRN. The selected trunk connects a Charter MG, on one side, and a

switch on the PSTN, on the other, and has an associated CIC value uniquely identifying the

selected trunk between the MG and PSTN switch.

         70.   Once a trunk is selected, the Charter CMS identifies the MG associated with one

end of the selected trunk using call routing data stored in relational call routing database tables in

the Charter CMS. Likewise, on information and belief, the Charter CMS identifies a signaling

Point Code for the PSTN switch on the other side of the selected trunk based call routing data

stored in relational call routing database tables in the Charter CMS.

         71.   Using the DPC of the PSTN switch, on information and belief, the Charter CMS

will send an SS7 IAM message to the PSTN switch associated with the selected Point Code. In

particular, the SS7 IAM includes the PSTN switch Point Code in the Destination Point Code

field of the SS7 IAM message, along with the Point Code (OPC) of the Charter CMS, the CIC

associated with the trunk, and the dialed number and/or LRN. The SS7 IAM is sent over A- or

D-links in native SS7 or SIGTRAN formats.

         72.   On information and belief, during an Outbound Call, Charter’s CMS will send a

CRCX instructing the MTA to create a session in inactive mode. On information and belief, in

response to the CRCX, the MTA sends an ACK to the CMS and includes its SDP profile in the

ACK. On information and belief, the MTA’s SDP profile contains, among other information, the

MTA’s IP address and port information.

         73.   On information and belief, during an Outbound Call, Charter’s CMS also sends a

CRCX to the selected MG associated with the identified trunk, including the MTA’s SDP

profile, instructing the MG to create a session. On information and belief, in response to the

CRCX the MG creates a session and sends an ACK, which includes the MG’s own SDP profile.




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On information and belief, the MG’s SDP profile includes, among other information, the MG’s

IP address and port number to which the MTA should send RTP voice packets.

         74.   On information and belief, during an Outbound Call, after the PSTN called party

answers the phone, voice information between the calling party’s MTA and the MG interfacing

with the PSTN is then transmitted from the MTA to the MG (and vice versa) using RTP, as

generally discussed above (see ¶¶ 57–62). On information and belief, the MTA receives analog

audio from the connected telephone, transcodes it to digital format, and places portions of the

digital audio into the payloads of RTP voice packets. On information and belief, the MTA puts

the MG’s IP address, which it received from the MG, in the destination address field of the RTP

voice packets’ IP headers. On information and belief, the MTA then sends the RTP voice packet

to its local CMTS via the local coaxial cable network. On information and belief, the CMTS then

sends the RTP voice packet to Charter’s IP network where it reaches the MG.

         75.   On information and belief, during an Outbound Call, the MG similarly receives

analog audio from the PSTN and places portions of the digital audio into the payloads of RTP

voice packets, as detailed above (see ¶¶ 57–62). On information and belief, the MG puts the

MTA’s IP address, which it received from the MTA, in the destination address field of the RTP

vice packets’ IP headers. On information and belief, the MG then sends the RTP voice packet to

Charter’s IP network, where it reaches the CMTS local to the called party’s MTA. On

information and belief, the CMTS then sends the RTP voice packet to the MTA over the local

coaxial cable network.

                          COUNT 1: PATENT INFRINGEMENT
                            Infringement of the ‘084 Patent

         76.   Sprint realleges and incorporates by reference the allegations set forth in

paragraphs 1–75 above.



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         77.   Upon information and belief, Charter directly infringed the ‘084 Patent by

making, using, selling, and offering for sale broadband and/or packet-based telephony products

or services, including the Accused Products and Services, that infringed the ‘084 Patent. These

broadband and/or packed-based telephony products and/or services were capable of receiving

and did receive telephone calls originating from a non-packet network, such as, for example, the

PSTN, in a manner that directly infringed at least claim 1 of the ‘084 Patent under 35 U.S.C.

§ 271(a).

         78.   For example, on information and belief, Charter implemented a method of

operating an interworking unit to handle a plurality of calls. See, e.g., ¶¶ 53-75, supra. On further

information and belief, Charter received messages into the interworking unit on a call-by-call

basis where the messages indicated one of a plurality of synchronous connections and a

corresponding one of a plurality of identifiers. See, e.g., ¶ 55, supra. On further information and

belief, Charter received user communications for the calls from the synchronous connections

indicated in the messages into the interworking unit. See, e.g., ¶¶ 58-62, supra. On further

information and belief, Charter, in response to the messages, converted the user communications

from the synchronous connections into asynchronous communications including the

corresponding identifiers. See, e.g., id. On further information and belief, Charter transferred the

asynchronous communications for subsequent routing based on the identifiers. See, e.g., id.

         79.   On information and belief, Charter has willfully infringed at least claim 1 of the

‘084 Patent. See, e.g., ¶¶ 46-47, supra.

         80.   As a direct and proximate consequence of Charter’s infringement of the ‘084

Patent, Sprint has suffered damages in an amount not yet determined for which Sprint is entitled

to relief.




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                           COUNT 2: PATENT INFRINGEMENT
                             Infringement of the ‘3,561 Patent

         81.   Sprint realleges and incorporates by reference the allegations set forth in

paragraphs 1–80 above.

         82.   Upon information and belief, Charter directly infringed the ‘3,561 Patent by

making, using, selling, and offering for sale broadband and/or packet-based telephony products

or services, including the Accused Products and Services, that infringed the ‘3,561 Patent. These

broadband and/or packet-based telephony products and/or services were capable of placing and

did place telephone calls that terminated on a non-packet network, such as, for example, the

PSTN, in a manner that directly infringed at least claims 1 and 24 of the ‘3,561 Patent under 35

U.S.C. § 271(a).

         83.   For example, on information and belief, Charter implemented a method of

operating a processing system to control a packet communication system for a user

communication. See, e.g., ¶¶ 53-62, supra. On further information and belief, Charter received a

signaling message for the user communication from a narrowband communication system into

the processing system. See, e.g., ¶ 53, supra. On further information and belief, Charter

processed the signaling message to select a network code that identified a network element to

provide egress from the packet communication system for the user communication. See, e.g., ¶¶

53-54. On further information and belief, Charter generated a control message indicating the

network code. See, e.g., ¶ 55-56, supra. On further information and belief, Charter transferred the

control message from the processing system to the packet communication system. See, e.g., id.

On further information and belief, Charter received the user communication in the packet

communication system and used the network code to route the user communication through the

packet communication system to the network element. See, e.g., ¶¶ 58-62, supra. On further



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information and belief, Charter transferred the user communication from the network element to

provide egress from the packet communication system. See, e.g., id., supra.

         84.   Furthermore, on information and belief, Charter implemented a method of

operating a processing system to control a packet communication system for a user

communication. See, e.g., ¶¶ 67-75, supra. On further information and belief, Charter selected a

network code that identified a network element to provide egress for the user communication

from the packet communication system to a narrowband communication system. See, e.g., ¶¶ 67-

73, supra. On further information and belief, Charter generated a control message indicating the

network code and transferred the control message from the processing system to the packet

communication system. See, e.g., ¶ 73, supra. On further information and belief, Charter

generated a signaling message for the user communication and transferred the signaling message

from the processing system to the narrowband communication system. See, e.g., ¶¶ 69-73, supra.

On further information and belief, Charter received the user communication in the packet

communication system and used the network code to route the user communication through the

packet communication system to the network element. See, e.g., ¶¶ 74-75, supra. On further

information and belief, Charter transferred the user communication from the network element to

the narrowband communication system to provide egress from the packet communication

system. See, e.g., ¶¶ 74-75, supra.

         85.   On information and belief, Charter has willfully infringed at least claims 1 and 24

of the ‘3,561 Patent. See, e.g., ¶¶ 46-47, supra.

         86.   As a direct and proximate consequence of Charter’s infringement of the ‘3,561

Patent, Sprint has suffered damages in an amount not yet determined for which Sprint is entitled

to relief.




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                            COUNT 3: PATENT INFRINGEMENT
                               Infringement of the ‘052 Patent

         87.   Sprint realleges and incorporates by reference the allegations set forth in

paragraphs 1–86 above.

         88.   Upon information and belief, Charter directly infringed the ‘052 Patent by

making, using, selling, and offering for sale broadband and/or packet-based telephony products

or services, including the Accused Products and Services, and other related telephony services,

that infringed the ‘052 Patent. These broadband and/or packet-based telephony products and/or

services were capable of receiving and did receive telephone calls originating from a non-packet

network, such as, for example, the PSTN, in a manner that directly infringed at least claim 1 of

the ‘052 Patent under 35 U.S.C. § 271(a).

         89.   For example, on information and belief, Charter implemented a method of

transferring a user communication to a packet communication system. See, e.g., ¶¶ 53-62, supra.

On further information and belief, Charter received the user communication into a device. See,

e.g., ¶¶ 58-62, supra. On further information and belief, Charter received signaling formatted for

a narrowband system into a processing system. See, e.g., ¶¶ 53-54, supra. On further information

and belief, Charter processed, in the processing system, the signaling to select a network code

that identified a network element to provide egress for the user communication from the packet

communication system. See, e.g., id. On further information and belief, Charter transferred an

instruction indicating the network code from the processing system to the device. See, e.g.,

¶¶ 55-56, supra. On further information and belief, Charter transferred a packet including the

network code and the user communication from the device to the packet communication system

in response to the instruction. See, e.g., ¶¶ 58-62, supra.




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         90.   On information and belief, Charter has willfully infringed at least claim 1 of the

‘052 Patent. See, e.g., ¶¶ 46-47, supra.

         91.   As a direct and proximate consequence of Charter’s infringement of the ‘052

Patent, Sprint has suffered damages in an amount not yet determined for which Sprint is entitled

to relief.

                           COUNT 4: PATENT INFRINGEMENT
                             Infringement of the ‘932 Patent

         92.   Sprint realleges and incorporates by reference the allegations set forth in

paragraphs 1–91 above.

         93.   Upon information and belief, Charter directly infringed the ‘932 Patent by

making, using, selling, and offering for sale broadband and/or packet-based telephony products

or services, including the Accused Products and Services, and other related telephony services,

that infringed the ‘932 Patent. These broadband and/or packet-based telephony products and/or

services were capable of placing and did place telephone calls that terminated on a non-packet

network, such as, for example, the PSTN, in a manner that directly infringed at least claim 1 of

the ‘932 Patent under 35 U.S.C. § 271(a).

         94.   For example, on information and belief, Charter implemented a method of

handling a call having a first message and communications. See, e.g., ¶¶ 67-75, supra. On further

information and belief, Charter operated a processing system external to narrowband switches

that received and processed the first message to select one of the narrowband switches. See, e.g.,

¶¶ 67-71, supra. On further information and belief, Charter generated a second message in the

processing system based on the selected narrowband switch and transmitted the message from

the processing system. See, e.g., ¶¶ 67-73, supra. On further information and belief, Charter

received the second message and communications and transferred the communications to the



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narrowband switch in response to the second message. See, e.g., ¶¶ 74-75, supra.

         95.   On information and belief, Charter has willfully infringed at least claim 1 of the

‘932 Patent. See, e.g., ¶¶ 46-47, supra.

         96.   As a direct and proximate consequence of Charter’s infringement of the ‘932

Patent, Sprint has suffered damages in an amount not yet determined for which Sprint is entitled

to relief.

                           COUNT 5: PATENT INFRINGEMENT
                             Infringement of the ‘429 Patent

         97.   Sprint realleges and incorporates by reference the allegations set forth in

paragraphs 1–96 above.

         98.   Upon information and belief, Charter directly infringed the ‘429 Patent by

making, using, selling, and offering for sale broadband and/or packet-based telephony products

or services, including the Accused Products and Services, and other related telephony services,

that infringed the ‘429 Patent. These broadband and/or packet-based telephony products and/or

services were capable of receiving and did receive telephone calls originating from a non-packet

network, such as, for example, the PSTN, in a manner that directly infringed at least claim 1 of

the ‘429 Patent under 35 U.S.C. § 271(a).

         99.   For example, on information and belief, Charter implemented a communication

method for transferring telecommunication signals for a call. See, e.g., ¶¶ 53-62, supra. On

further information and belief, Charter received information associated with a user

communication into a processing system. See, e.g., ¶¶ 53-54, supra. On further information and

belief, Charter processed the information in the processing system to select an identifier. See,

e.g., id. On further information and belief, Charter generated a message containing the identifier.

See, e.g., ¶¶ 55, supra. On further information and belief, Charter transmitted the message from



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the processing system. See, e.g., id. On further information and belief, Charter received the

message into an interworking unit. See, e.g., id. On further information and belief, Charter

received the user communication into the interworking unit from a DS0 connection. See, e.g.,

¶ 58-60, supra. On further information and belief, Charter, in the interworking unit, converted

the user communication into an asynchronous communication with the identifier in a header in

response to the message. See, e.g., id. On further information and belief, Charter transferred the

asynchronous communication from the interworking unit. See, e.g., id.

         100.   On information and belief, Charter has willfully infringed at least claim 1 of the

‘429 Patent. See, e.g., ¶¶ 46-47, supra.

         101.   As a direct and proximate consequence of Charter’s infringement of the ‘429

Patent, Sprint has suffered damages in an amount not yet determined for which Sprint is entitled

to relief.

                            COUNT 6: PATENT INFRINGEMENT
                              Infringement of the ‘064 Patent

         102.   Sprint realleges and incorporates by reference the allegations set forth in

paragraphs 1-101 above.

         103.   Upon information and belief, Charter directly infringed the ‘064 Patent by

making, using, selling, and offering for sale broadband and/or packet-based telephony products

or services, including the Accused Products and Services, and other related telephony services,

that infringed the ‘064 Patent. These broadband and/or packet-based telephony products and/or

services were capable of placing and did place telephone calls that terminate on a non-packet

network, such as, for example, the PSTN, in a manner that directly infringed at least claim 1 of

the ‘064 Patent under 35 U.S.C. § 271(a).

         104.   For example, on information and belief, Charter implemented a method for a call.



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See, e.g., ¶¶ 67-75, supra. On further information and belief, Charter received set-up signaling

associated with the call into a processing system. See, e.g., ¶ 67, supra. On further information

and belief, Charter processed the set-up signaling in the processing system to select a DS0

connection. See, e.g., ¶¶ 67-71. On further information and belief, Charter generated a message

identifying the DS0 connection. See, e.g., id. On further information and belief, Charter

transmitted the message from the processing system. See, e.g., ¶¶ 70-73, supra. On further

information and belief, Charter received the message and an asynchronous communication

associated with the call into an interworking unit. See, e.g., ¶¶ 74-75. On further information and

belief, Charter, in the interworking unit, converted the asynchronous communication into a user

communication. See, e.g., id. On further information and belief, Charter transferred the user

communication from the interworking unit to the DS0 connection in response to the message.

See, e.g., id.

         105.    On information and belief, Charter has willfully infringed at least claim 1 of the

‘064 Patent. See, e.g., ¶¶ 46-47, supra.

         106.    As a direct and proximate consequence of Charter’s infringement of the ‘064

Patent, Sprint has suffered damages in an amount not yet determined for which Sprint is entitled

to relief.

                             COUNT 7: PATENT INFRINGEMENT
                               Infringement of the ‘224 Patent

         107.    Sprint realleges and incorporates by reference the allegations set forth in

paragraphs 1–106 above.

         108.    Upon information and belief, Charter directly infringed the ‘224 Patent by

making, using, selling, and offering for sale broadband and/or packet-based telephony products

or services, including the Accused Products and Services, and other related telephony services,



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that infringed the ‘224 Patent. These broadband and/or packet-based telephony products and/or

services were capable of providing and did provide enhanced services in a manner that directly

infringed at least claim 1 of the ‘224 Patent under 35 U.S.C. § 271(a).

         109.   For example, on information and belief, Charter implemented a method for

operating a communication system. See, e.g., ¶¶ 53-66, supra. On further information and belief,

Charter received information into a processing system wherein the information is related to a

user communication in a first communication format. See, e.g., ¶¶ 53-54, 63, supra. On further

information and belief, Charter, in the processing system, selected a service and a service node to

provide the service based on the information. See, e.g., ¶¶ 63-66, supra. On further information

and belief, Charter, in the processing system, generated and transmitted a first message from the

processing system. See, e.g., id. On further information and belief, Charter, in the processing

system, generated and transmitted a second message from the processing system to the service

node wherein the second message indicated the selected service and a user. See, e.g., id. On

further information and belief, Charter received the user communication in the first

communication format and the first message into an interworking unit. See, e.g., id. On further

information and belief, Charter, in the interworking unit, converted the user communication from

the first communication format to a second communication format and transmitted the user

communication in the second communication format to the service node in response to the first

message. See, e.g., id.

         110.   On information and belief, Charter has willfully infringed at least claim 1 of the

‘224 Patent. See, e.g., ¶¶ 46-47, supra.




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         111.   As a direct and proximate consequence of Charter’s infringement of the ‘224

Patent, Sprint has suffered damages in an amount not yet determined for which Sprint is entitled

to relief.

                            COUNT 8: PATENT INFRINGEMENT
                              Infringement of the ‘340 Patent

         112.   Sprint realleges and incorporates by reference the allegations set forth in

paragraphs 1–111 above.

         113.   Upon information and belief, Charter directly infringed the ‘340 Patent by

making, using, selling, and offering for sale broadband and/or packet-based telephony products

or services, including the Accused Products and Services, and other related telephony services,

that infringed the ‘340 Patent. These broadband and/or packet-based telephony products and/or

services were capable of providing and did provide enhanced services in a manner that directly

infringed at least claim 11 of the ‘340 Patent under 35 U.S.C. § 271(a).

         114.   For example, on information and belief, Charter implemented a method of

operating a communication system. See, e.g., ¶¶ 53-66, supra. On further information and belief,

Charter, in a signaling processor, received and processed Signaling System Seven (SS7)

signaling for a call, and in response, generated and transferred control messaging indicating

identifiers that are used for routing. See, e.g., ¶¶ 53-54, 63, supra. On further information and

belief, Charter, in a service platform system, received the control messaging, and in response,

exchanged communications that included the identifiers to interact with a caller to provide a

service. See, e.g., ¶¶ 63-66, supra.

         115.   On information and belief, Charter has willfully infringed at least claim 11 of the

‘340 Patent. See, e.g., ¶¶ 46-47, supra.




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         116.   As a direct and proximate consequence of Charter’s infringement of the ‘340

Patent, Sprint has suffered damages in an amount not yet determined for which Sprint is entitled

to relief.

                           COUNT 9: PATENT INFRINGEMENT
                             Infringement of the ‘6,561 Patent

         117.   Sprint realleges and incorporates by reference the allegations set forth in

paragraphs 1–116 above.

         118.   Upon information and belief, Charter directly infringed the ‘6,561 Patent by

making, using, selling, and offering for sale broadband and/or packet-based telephony products

or services, including the Accused Products and Services, and other related telephony services,

that infringed the ‘6,561 Patent. These broadband and/or packet-based telephony products and/or

services were capable of receiving and did receive telephone calls originating from a non-packet

network, such as, for example, the PSTN, in a manner that directly infringed at least claim 11 of

the ‘6,561 Patent under 35 U.S.C. § 271(a).

         119.   For example, on information and belief, Charter implemented a method of

operating a communication network. See, e.g., ¶¶ 53-62, supra. On further information and

belief, Charter, in a processing system, processed one of a Signaling System #7 (SS7) signaling

message and a Q.931 signaling message for a call to select packet routing information for the call

and transferred a control message indicating packet routing information. See, e.g., ¶ 53-62,

supra. On further information and belief, Charter, in a communication system, received a user

communication for the call and the control message, and in response, converted the user

communication into a packet format including the packet routing information selected by the

processing system and transferred the user communication in the packet format to a packet

system that routed the user the packet routing information selected by the processing system.



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See, e.g., ¶ 58, supra.

         120.   On information and belief, Charter has willfully infringed at least claim 11 of the

‘6,561 Patent. See, e.g., ¶¶ 46-47, supra.

         121.   As a direct and proximate consequence of Charter’s infringement of the ‘6,561

Patent, Sprint has suffered damages in an amount not yet determined for which Sprint is entitled

to relief.

                           COUNT 10: PATENT INFRINGEMENT
                              Infringement of the ‘454 Patent

         122.   Sprint realleges and incorporates by reference the allegations set forth in

paragraphs 1–121 above.

         123.   Upon information and belief, Charter directly infringed the ‘454 Patent by

making, using, selling, and offering for sale broadband and/or packet-based telephony products

or services, including the Accused Products and Services, and other related telephony services,

that infringed the ‘454 Patent. These broadband and/or packet-based telephony products and/or

services were capable of placing and did place telephone calls that terminated on a non-packet

network, such as, for example, the PSTN, in a manner that directly infringed at least claim 1 of

the ‘454 Patent under 35 U.S.C. § 271(a).

         124.   For example, on information and belief, Charter implemented a method of

operating a telecommunication system. See, e.g., ¶¶ 67-75, supra. On further information and

belief, Charter received a first signaling from customer premises equipment into a

communication control processor. See, e.g., ¶¶ 67-68, supra. On further information and belief,

Charter processed the first signaling in the communication control processor to select an address

of a network element. See, e.g., ¶¶ 67-69. On further information and belief, Charter transferred

second signaling indicating the address from the communication control processor. See, e.g.,



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¶¶ 73-74, supra. On further information and belief, Charter transferred third signaling from the

communication control processor to a narrowband network. See, e.g., ¶¶ 73-74, supra. On further

information and belief, Charter received a voice communication from the customer premises

equipment into a broadband network. See, e.g., ¶ 74, supra. On further information and belief,

Charter transferred the voice communication in the broadband network to the network element.

See, e.g., id. On further information and belief, Charter transferred the voice communication

from the network element to the narrowband network. See, e.g., id.

         125.   On information and belief, Charter has willfully infringed at least claim 1 of the

‘454 Patent. See, e.g., ¶¶ 46-47, supra.

         126.   As a direct and proximate consequence of Charter’s infringement of the ‘454

Patent, Sprint has suffered damages in an amount not yet determined for which Sprint is entitled

to relief.

                           COUNT 11: PATENT INFRINGEMENT
                              Infringement of the ‘728 Patent

         127.   Sprint realleges and incorporates by reference the allegations set forth in

paragraphs 1–126 above.

         128.   Upon information and belief, Charter directly infringed the ‘728 Patent by

making, using, selling, and offering for sale broadband and/or packet-based telephony products

or services, including the Accused Products and Services, and other related telephony services,

that infringed the ‘728 Patent. These broadband and/or packet-based telephony products and/or

services were capable of receiving and did receive telephone calls originating from a non-packet

network, such as, for example, the PSTN, in a manner that directly infringed at least claim 1 of

the ‘728 Patent under 35 U.S.C. § 271(a).

         129.   For example, on information and belief, Charter implemented a method of



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operating a communication system. See, e.g., ¶¶ 53-62, supra. On further information and belief,

Charter received telecommunication signaling for calls into a signaling processor, and

responsively    on   a   call-by-call   basis,   selected   routing   information   based   on   the

telecommunication signaling and transferred control messages indicating the routing

information. See, e.g., ¶¶ 53-55, supra. On further information and belief, Charter received the

control messages and user communications for the calls into a communication unit, and

responsively on the call-by-call basis, converted the user communications from a first

communication format into a second communication format having headers that included the

routing information selected by the signaling processor and transferred the user communications

in the second communication format. See, e.g., ¶¶ 55-62, supra.

         130.   On information and belief, Charter has willfully infringed at least claim 1 of the

‘728 Patent. See, e.g., ¶¶ 46-47, supra.

         131.   As a direct and proximate consequence of Charter’s infringement of the ‘728

Patent, Sprint has suffered damages in an amount not yet determined for which Sprint is entitled

to relief.

                           COUNT 12: PATENT INFRINGEMENT
                              Infringement of the ‘534 Patent

         132.   Sprint realleges and incorporates by reference the allegations set forth in

paragraphs 1–131 above.

         133.   Upon information and belief, Charter directly infringed the ‘534 Patent by

making, using, selling, and offering for sale broadband and/or packet-based telephony products

or services, including the Accused Products and Services, and other related telephony services,

that infringed the ‘534 Patent. These broadband and/or packet-based telephony products and/or

services were capable of placing and did place telephone calls that terminated on a non-packet



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network, such as, for example, the PSTN, in a manner that directly infringed at least claim 1 of

the ‘534 Patent under 35 U.S.C. § 271(a).

         134.   For example, on information and belief, Charter implemented a method of

operating a communication system. See, e.g., ¶¶ 67-75, supra. On further information and belief,

Charter transferred a dial tone from a bearer interface for a caller. See, e.g., ¶ 67, supra. On

further information and belief, Charter received Dual Tone Multi-Frequency (DTMF) signals

from the caller into the bearer interface. See, e.g., ¶¶ 67-68. On further information and belief,

Charter processed the DTMF signals in the bearer interface to determine a called number. See,

e.g., ¶¶ 67-68. On further information and belief, Charter transferred a first message indicating

the called number from the bearer interface to a processing system. See, e.g., id. On further

information and belief, Charter processed the called number in the processing system to select an

identifier. See, e.g., ¶¶ 68-73, supra. On further information and belief, Charter transferred a

second message indicating the identifier from the processing system to the bearer interface. See,

e.g., id. On further information and belief, Charter received the user communications into the

bearer interface, and in response to the second message, converted the user communications into

a packet format including the identifier and transferred the user communications in the packet

format including the identifier to a communication network, wherein the communication network

routed the user communications based on the identifier. See, e.g., ¶¶ 74-75, supra.

         135.   On information and belief, Charter has willfully infringed at least claim 1 of the

‘534 Patent. See, e.g., ¶¶ 46-47, supra.

         136.   As a direct and proximate consequence of Charter’s infringement of the ‘534

Patent, Sprint has suffered damages in an amount not yet determined for which Sprint is entitled

to relief.




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                           COUNT 13: PATENT INFRINGEMENT
                              Infringement of the ‘131 Patent

         137.   Sprint realleges and incorporates by reference the allegations set forth in

paragraphs 1–136 above.

         138.   Upon information and belief, Charter has been, and/or currently is, directly

infringing the ‘131 Patent by making, using, selling, and offering for sale broadband and/or

packet-based telephony products or services, including the Accused Products and Services, and

other related telephony services, that infringe the ‘131 Patent. These broadband and/or packet-

based telephony products and/or services are capable of placing and do place telephone calls that

terminate on a non-packet network, such as, for example, the PSTN, in a manner that directly

infringes at least claim 11 of the ‘131 Patent under 35 U.S.C. § 271(a).

         139.   For example, on information and belief, Charter implements a method of

operating a communication system to provide Public Switched Telephone Network (PSTN)

access to a residential communication hub. See, e.g., ¶¶ 67-75, supra. On further information and

belief, Charter, in the residential communication hub that is coupled to a packet network over a

packet connection, exchanges telephony control signaling and telephony user communications in

a PSTN format with an analog telephone, converts the telephony control signaling and the

telephony user communications in the PSTN format to a packet format, exchanges the telephony

control signaling in the packet format with a service node over the packet connection, wherein

the service node comprises a call manager and a voice mux, exchanges the telephony user

communications in the packet format with the service node over the packet connection, and

exchanges Internet communications with the service node over the packet connection. See, e.g.,

¶¶ 67-75. On further information and belief, Charter, in the call manager that is coupled to the

packet network, processes the telephony control signaling to select a PSTN connection of the



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PSTN, transfers a control message indicating the selected PSTN connection, converts the

telephony control signaling between the packet format and the PSTN format, and exchanges the

telephony control signaling in the PSTN format with the PSTN over a signaling interface of the

PSTN. See, e.g., id. On further information and belief, Charter, in the voice mux that is coupled

to the packet network, receives the control message from the call manager, and in response,

exchanges the telephony user communications in the packet format with the residential

communication hub, converts the telephony user communications between the packet format and

the PSTN format, and exchanges the telephony user communications in the PSTN format over

the selected PSTN connection. See, e.g., id.

         140.   On information and belief, Charter has, and continues to, willfully infringe at least

claim 11 of the ‘131 Patent. See, e.g., ¶¶ 46-47, supra.

         141.   As a direct and proximate consequence of Charter’s infringement of the ‘131

Patent, Sprint has suffered damages in an amount not yet determined for which Sprint is entitled

to relief.

                            COUNT 14: PATENT INFRINGEMENT
                               Infringement of the ‘918 Patent

         142.   Sprint realleges and incorporates by reference the allegations set forth in

paragraphs 1–141 above.

         143.   Upon information and belief, Charter has been, and/or currently is, directly

infringing the ‘918 Patent by making, using, selling, and offering for sale broadband and/or

packet-based telephony products or services, including the Accused Products and Services, and

other related telephony services, that infringe the ‘918 Patent. These broadband and/or packet-

based telephony products and/or services are capable of placing and do place telephone calls that




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terminate on a non-packet network, such as, for example, the PSTN, in a manner that directly

infringes at least claim 11 of the ‘918 Patent under 35 U.S.C. § 271(a).

         144.   For example, on information and belief, Charter implements a method of

operating a communication system. See, e.g., ¶¶ 53-75, supra. On further information and belief,

Charter’s control system, which includes control system data tables, receives and processes call

routing data to fill the control data tables with the call routing data and also transfers the call

routing data from the control system data tables to call processor data tables. See, e.g., ¶¶ 53-54,

67-73, supra. On further information and belief, Charter, in a call processor including the call

processor data tables, processes signaling information for a call based on the call routing data in

the call processor data tables to transfer a control message for the call indicating a first

connection and a second connection See, e.g., id. On further information and belief, Charter, in

an interworking unit, receives the control message, and in response to the control message,

receives user communications in a first format from a first connection, converts the user

communications to a second format, and transfers the user communications in the second format

over the second connection. See, e.g., ¶¶ 58-62, 74-75, supra.

         145.   On information and belief, Charter has, and continues to, willfully infringe at least

claim 11 of the ‘918 Patent. See, e.g., ¶¶ 46-47, supra.

         146.   As a direct and proximate consequence of Charter’s infringement of the ‘918

Patent, Sprint has suffered damages in an amount not yet determined for which Sprint is entitled

to relief.

                            COUNT 15: PATENT INFRINGEMENT
                               Infringement of the ‘463 Patent

         147.   Sprint realleges and incorporates by reference the allegations set forth in

paragraphs 1–146 above.



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         148.   Upon information and belief, Charter has been, and/or currently is, directly

infringing the ‘463 Patent by making, using, selling, and offering for sale broadband and/or

packet-based telephony products or services, including the Accused Products and Services, and

other related telephony services, that infringe the ‘463 Patent. These broadband and/or packet-

based telephony products and/or services are capable of placing and do place telephone calls that

terminate on a non-packet network, such as, for example, the PSTN, through LNP querying in a

manner that directly infringes at least claim 1 of the ‘463 Patent under 35 U.S.C. § 271(a).

         149.   For example, on information and belief, Charter implements a method of

operating a call signaling processor for a call having a signaling message and a user

communication. See, e.g., ¶¶ 67-75, supra. On further information and belief, Charter received

the signaling message for the call indicating a called number. See, e.g., ¶¶ 67–69, supra. On

information and belief, Charter processed the called number to transfer a number portability

query. See, e.g., ¶ 69, supra. On further information and belief, Charter received a number

portability response indicating a route number. See, e.g., ¶ 69, supra. On further information and

belief, Charter processed the route number to select an identifier for routing the user

communication. See, e.g., ¶¶ 69–75, supra. On further information and belief, Charter transferred

a control message indicating the user communication and the identifier to a communication

system, wherein the communication system, in response to the control message, added the

identifier to a header of the user communication and routed the user communication based on the

identifier in the header. See, e.g., ¶¶ 69–75, supra.

         150.   On information and belief, Charter has willfully infringed at least claim 1 of the

‘463 Patent. See, e.g., ¶¶ 46-47, supra.




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         151.   As a direct and proximate consequence of Charter’s infringement of the ‘463

Patent, Sprint has suffered damages in an amount not yet determined for which Sprint is entitled

to relief.

                                    PRAYER FOR RELIEF

                Wherefore, Sprint requests entry of judgment in its favor and against Charter as

follows:

         A.     Judgment that Charter has directly infringed one or more claims of Sprint’s

Patents;

         B.     An award of damages to compensate Sprint for Charter’s infringement, including

damages pursuant to 35 U.S.C. § 284, as well as prejudgment and post-judgment interest;

         C.     An award of costs and expenses in this action, including an award of Sprint’s

reasonable attorneys’ fees pursuant to 35 U.S.C. § 285;

         D.     A permanent injunction restraining and enjoining Charter, and its respective

officers, agents, servants, employees, attorneys, and those persons in active concert or

participation with Charter who receive actual notice of the order by personal service or

otherwise, from any further sales or use of their infringing products and/or services and any other

infringement of the ‘131 and ‘918 Patents;

         E.     A finding that Charter has willfully infringed and is willfully infringing one or

more claims of one or more of the Asserted Patents;

         F.     A finding that this is an exceptional case, award treble damages due to Charter’s

deliberate and willful conduct, and order Charter to pay Sprint’s costs of suit and attorneys’ fees;

and

         G.     For such other and further relief as the Court may deem just, proper, and equitable

under the circumstances.


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                                  DEMAND FOR JURY TRIAL

         Sprint respectfully demands a trial by jury on all claims and issues so triable.


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Dated: December 15, 2017




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